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                           UNITED STATES DISTRICT COURT
 7                        WESTERN DISTRICT OF WASHINGTON
 8 PURE DATA SYSTEMS, LLC
                                                     Case No. 2:17-cv-01659 RAJ
 9                    Plaintiff,
                                                     STIPULATION AND (PROPOSED)
10            v.                                     ORDER OF DISMISSAL
11 VALVE CORPORATION
                                                     NOTE ON MOTION CALENDAR:
12                   Defendant,                      FEBRUARY 7, 2018
13
                                            I. STIPULATION
14
             The plaintiff Pure Data Systems, LLC and defendant Valve Corporation, pursuant
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     to Fed. R. Civ. P. 41(a)(2) and (c), hereby move for an order dismissing all claims in this
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     action WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’
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     fees.
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                      IT IS SO STIPULATED this 7th day of February, 2018.
19
20 FOX ROTHSCHILD LLP                          VAN KAMPEN & CROWE PLLC

21 s/  Gavin W. Skok                            s/   Al Van Kampen
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     STIPULATION AND ORDER OF DISMISSAL                         1001 Fourth Avenue, Suite 4050
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              Case 2:17-cv-01659-RAJ Document 16 Filed 02/07/18 Page 2 of 2



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 4
                                                 Attorneys for Plaintiff
 5                                               Pure Data Systems, LLC

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                                             II. ORDER
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            CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal
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     With Prejudice of all claims and counterclaims asserted between plaintiff Pure Data
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     Systems, LLC and defendant Valve Corporation in this case, and the Court being of the
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     opinion that said motion should be GRANTED, it is hereby
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            ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit
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     between plaintiff Pure Data Systems, LLC and defendant Valve Corporation are hereby
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     dismissed with prejudice.
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            It is further ORDERED that all attorneys’ fees and costs are to be borne by the
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     party that incurred them.
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                                 DATED this ___ day of February, 2018.
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20                                                 ____________________________________
                                                   THE HONORABLE RICHARD A. JONES
21                                                 UNITED STATES DISTRICT JUDGE
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25
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                                                   2            VAN KAMPEN & CROWE PLLC
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     Case No. 2:17-CV-01659 RAJ                                Seattle, Washington 98154-1000
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